                                                                                   Case 05-94770                Doc 1  Filed 10/14/05 Entered 10/14/05 13:44:13 Desc Main
                                                                     (Official Form 1) (12/03)                            Document Page 1 of 34
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                               Voluntary Petition
                                                                                                             Central District of Illinois
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Fickes, James Reed                                                                   Fickes, Teri L
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):
                                                                                                                                                           Teri L Oliver
                                                                                                                                                           Teri L Fegett


                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): 8232                                              No. (if more than one, state all): 2332
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      920 N. 3rd St.                                                                       920 N. 3rd St.
                                                                      Champaign, IL 61820                                                                  Champaign, IL 61820


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Champaign                                               Principal Place of Business: Champaign
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
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                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                      ü    Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                           Corporation                       Stockbroker                                   ü    Chapter 7           Chapter 11             Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                          Nature of Debts (Check one box)
                                                                      ü Consumer/Non-Business
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                                                          Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      ü   Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49      50-99      100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                               ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                          ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                        ü
                                                                     VOLUNTARY PETITION
                                                                                    Case 05-94770                    Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                                Desc Main
                                                                     (Official Form 1) (12/03)                                     Document Page 2 of 34                                                        FORM B1, Page 2
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        Fickes, James Reed & Fickes, Teri L
                                                                                                  Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                      Location                                                                     Case Number:                               Date Filed:
                                                                      Where Filed: Decatur, Illinois                                                                                          1996
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                              Case Number:                               Date Filed:
                                                                      None
                                                                      District:                                                                    Relationship:                              Judge:


                                                                                                                                          Signatures
                                                                                  Signature(s) of Debtor(s) (Individual/Joint)                                                           Exhibit A
                                                                      I declare under penalty of perjury that the information provided in this          (To be completed if debtor is required to file periodic reports
                                                                      petition is true and correct.                                                      (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                      [If petitioner is an individual whose debts are primarily consumer                Commission pursuant to Section 13 or 15(d) of the Securities
                                                                      debts and has chosen to file under Chapter 7] I am aware that I may              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                      proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,            Exhibit A is attached and made a part of this petition.
                                                                      understand the relief available under each such chapter, and choose to
                                                                      proceed under chapter 7.                                                                                           Exhibit B
                                                                      I request relief in accordance with the chapter of title 11, United States                   (To be completed if debtor is an individual
                                                                      Code, specified in this petition.                                                            whose debts are primarily consumer debts)
                                                                                                                                                   I, the attorney for the petitioner named in the foregoing petition,
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                                                                      X   /s/ James Reed Fickes                                                    declare that I have informed the petitioner that [he or she] may proceed
                                                                          Signature of Debtor                                 James Reed Fickes    under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                   explained the relief available under each such chapter.
                                                                      X   /s/ Teri L Fickes
                                                                          Signature of Joint Debtor                                Teri L Fickes
                                                                          (217) 352-6016                                                           X    /s/ Kenneth E. Baughman                                      10/12/05
                                                                          Telephone Number (If not represented by attorney)                             Signature of Attorney for Debtor(s)                               Date

                                                                          October 12, 2005                                                                                               Exhibit C
                                                                          Date
                                                                                                                                                   Does the debtor own or have possession of any property that poses or
                                                                                                  Signature of Attorney                            is alleged to pose a threat of imminent and identifiable harm to public
                                                                                                                                                   health or safety?
                                                                      X   /s/ Kenneth E. Baughman                                                      Yes, and Exhibit C is attached and made a part of this petition.
                                                                          Signature of Attorney for Debtor(s)
                                                                                                                                                   üNo
                                                                          Kenneth E. Baughman ARD#0138398
                                                                          Printed Name of Attorney for Debtor(s)                                               Signature of Non-Attorney Petition Preparer
                                                                          Kenneth E. Baughman                                                      I certify that I am a bankruptcy petition preparer as defined in 11
                                                                          Firm Name                                                                U.S.C. § 110, that I prepared this document for compensation, and that
                                                                                                                                                   I have provided the debtor with a copy of this document.
                                                                          P.O. Box 166
                                                                          Address
                                                                          Monticello, IL 61856                                                       Printed Name of Bankruptcy Petition Preparer

                                                                          (217) 762-9522                                                             Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                          Telephone Number
                                                                          October 12, 2005                                                           Address
                                                                          Date

                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this       Names and Social Security numbers of all other individuals who
                                                                      petition is true and correct, and that I have been authorized to file this     prepared or assisted in preparing this document:
                                                                      petition on behalf of the debtor.
                                                                      The debtor requests relief in accordance with the chapter of title 11,         If more than one person prepared this document, attach additional
                                                                      United States Code, specified in this petition.                                sheets conforming to the appropriate official form for each person.

                                                                      X                                                                              X
                                                                          Signature of Authorized Individual
                                                                                                                                                          Signature of Bankruptcy Petition Preparer

                                                                          Printed Name of Authorized Individual
                                                                                                                                                          Date

                                                                          Title of Authorized Individual                                           A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                   of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          Date                                                                     in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     VOLUNTARY PETITION
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                  Central District of Illinois

                                                                     IN RE:                                                                                                          Case No.
                                                                     Fickes, James Reed & Fickes, Teri L                                                                             Chapter 7
                                                                                                                        Debtor(s)

                                                                                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs.

                                                                        Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
                                                                     If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer to any question, use
                                                                     and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                              DEFINITIONS

                                                                       “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business”
                                                                     for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed.
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                                                                       “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from
                                                                             the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately
                                                                             preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                                                                             report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE (if more than one)
                                                                                 15,000.00 2005 - H -Flex-N-Gate
                                                                                 15,000.00 2005 - H - Flex-N-Gate
                                                                                 15,000.00 2005 - H - Flex-N-Gate

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during
                                                                      ü      the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                      None   a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
                                                                      ü      90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments
                                                                             by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
                                                                      ü      were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                    Case 05-94770               Doc 1        Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
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                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Kenneth E. Baughman                                                                                                                     535.00
                                                                     Attorney At Law
                                                                     P.O. Box 166
                                                                     Monticello, IL 61856

                                                                     10. Other transfers
                                                                      None   List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
                                                                      ü      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
                                                                             the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
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                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship,
                                                                             or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the debtor owned
                                                                             5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                             preceding the commencement of this case.
                                                                                                                    TAXPAYER                                                          NATURE OF               BEGINNING AND
                                                                     NAME                                           I.D. NUMBER           ADDRESS                                     BUSINESS                ENDING DATES
                                                                     A-OK Appliance Repair                          XXX-XX-XXXX           920 N. Third St.                            Repair Service          2004-present
                                                                                                                                          Champaign, IL 61820
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü



                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more
                                                                     than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise
                                                                     self-employed.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                      ü      keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                      ü      debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                      ü
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                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü
                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of this case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.




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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: October 12, 2005                     Signature /s/ James Reed Fickes
                                                                                                                of Debtor                                                                   James Reed Fickes

                                                                     Date: October 12, 2005                     Signature /s/ Teri L Fickes
                                                                                                                of Joint Debtor                                                                    Teri L Fickes
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                    Case 05-94770                 Doc 1         Filed 10/14/05 Entered 10/14/05 13:44:13                                      Desc Main
                                                                                                                                   Document Page 8 of 34
                                                                                                                                 United States Bankruptcy Court
                                                                                                                                    Central District of Illinois

                                                                     IN RE:                                                                                                               Case No.
                                                                     Fickes, James Reed & Fickes, Teri L                                                                                  Chapter 7
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E, and F to determine the total
                                                                     amount of the debtor's liabilities.
                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1                        0.00



                                                                      B - Personal Property                                          Yes                      2                  1,420.00



                                                                      C - Property Claimed as Exempt                                 Yes                      5
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                                                                      D - Creditors Holding Secured Claims                           Yes                      1                                                 0.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      2                                              400.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                      7                                          74,570.00
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                      H - Codebtors                                                  Yes                      1


                                                                      I - Current Income of Individual
                                                                                                                                     Yes                      1                                                                     1,370.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                     Yes                      1                                                                     2,060.00
                                                                          Debtor(s)


                                                                                                 Total Number of Sheets in Schedules                         22



                                                                                                                                                   Total Assets                  1,420.00



                                                                                                                                                                       Total Liabilities                 74,970.00




                                                                     SUMMARY OF SCHEDULES
                                                                                     Case 05-94770                 Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                                       Desc Main
                                                                                                                                     Document Page 9 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                               Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-tenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Community in the column labeled
                                                                     "HWJC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.
                                                                        If an entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write "None" in the column labeled "Amount of Secured Claim".
                                                                        If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                    CURRENT MARKET
                                                                                                                                                                                             H     VALUE OF DEBTOR'S
                                                                                                                                                                   NATURE OF DEBTOR'S        W   INTEREST IN PROPERTY       AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J    WITHOUT DEDUCTING              CLAIM
                                                                                                                                                                                             C   ANY SECURED CLAIM OR
                                                                                                                                                                                                      EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                     Case 05-94770                    Doc 1       Filed 10/14/05 Entered 10/14/05 13:44:13                                        Desc Main
                                                                                                                                    Document Page 10 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                               Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an "X" in the
                                                                     appropriate position in the column labeled "None". If additional space is needed in any category, attached a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
                                                                     or "C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
                                                                     Property Claimed as Exempt.
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leased.
                                                                        If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property".

                                                                                                                                                                                                                               CURRENT MARKET
                                                                                                                       N                                                                                               H      VALUE OF DEBTOR'S
                                                                                                                       O                                                                                               W    INTEREST IN PROPERTY
                                                                                    TYPE OF PROPERTY                                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                               J     WITHOUT DEDUCTING
                                                                                                                       E                                                                                               C    ANY SECURED CLAIM OR
                                                                                                                                                                                                                                 EXEMPTION

                                                                        1. Cash on hand.                                   Cash                                                                                        J                    50.00
                                                                        2. Checking, savings or other financial            Checking                                                                                    J                   100.00
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
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                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods including but not limited to kitchenware                                    J                   280.00
                                                                           include audio, video, and computer              items, stove, refrigerator, washer, dryer, living room furniture,
                                                                           equipment.                                      bedroom furniture, television
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                            X
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in IRA, ERISA, Keogh, or               401(k)                                                                                      J                    90.00
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      12. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      13. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                      14. Government and corporate bonds and           X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      15. Accounts receivable.                         X
                                                                      16. Alimony, maintenance, support, and           X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      17. Other liquidated debts owing debtor          X
                                                                          including tax refunds. Give
                                                                          particulars.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                    Case 05-94770                    Doc 1    Filed 10/14/05 Entered 10/14/05 13:44:13                             Desc Main
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                     Case No.
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                               CURRENT MARKET
                                                                                                                      N                                                                                 H     VALUE OF DEBTOR'S
                                                                                                                      O                                                                                 W   INTEREST IN PROPERTY
                                                                                   TYPE OF PROPERTY                                         DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                 J    WITHOUT DEDUCTING
                                                                                                                      E                                                                                 C   ANY SECURED CLAIM OR
                                                                                                                                                                                                                 EXEMPTION

                                                                      18. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      19. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      20. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      21. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
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                                                                      22. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      23. Automobiles, trucks, trailers, and              1985 Ford                                                                     J                 400.00
                                                                          other vehicles and accessories.                 1990 Oldsmobile                                                               J                 400.00
                                                                      24. Boats, motors, and accessories.             X
                                                                      25. Aircraft and accessories.                   X
                                                                      26. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      27. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      28. Inventory.                                  X
                                                                      29. Animals.                                    X
                                                                      30. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      31. Farming equipment and implements.           X
                                                                      32. Farm supplies, chemicals, and feed.         X
                                                                      33. Other personal property of any kind             Tools                                                                         J                 100.00
                                                                          not already listed. Itemize.




                                                                                                                                                                                                 TOTAL                  1,420.00
                                                                                                                                                                             (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                            Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                       Case 05-94770               Doc 1         Filed 10/14/05 Entered 10/14/05 13:44:13                                      Desc Main
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                            Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:

                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(1): Exemptions provided in 11 U.S.C. § 522(d). NOTE: These exemptions are available only in certain states.

                                                                       ü11 U.S.C. § 522(b)(2):     Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been located for 180
                                                                                                   days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the debtor's
                                                                                                   interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                                                                                                           CURRENT MARKET
                                                                                                                                                                                                 VALUE OF CLAIMED         VALUE OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                                    EXEMPTION             WITHOUT DEDUCTING
                                                                                                                                                                                                                             EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash                                                         735 ILCS 5 §12-1001(b)                                                       50.00                     50.00
                                                                     Checking                                                     735 ILCS 5 §12-1001(b)                                                      100.00                   100.00
                                                                     Household goods including but not limited 735 ILCS 5 §12-1001(b)                                                                         280.00                   280.00
                                                                     to kitchenware items, stove, refrigerator,
                                                                     washer, dryer, living room furniture,
                                                                     bedroom furniture, television
                                                                     401(k)                                                       40 ILCS 5 §§22-230, 4-135, 6-213, 19-117                                     90.00                     90.00
                                                                     1985 Ford                                                    735 ILCS 5 §12-1001(c)                                                      400.00                   400.00
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                                                                     1990 Oldsmobile                                              735 ILCS 5 §12-1001(b)                                                      400.00                   400.00
                                                                     Tools                                                        735 ILCS 5 §§12-1001(h)(1), (i)                                             100.00                   100.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                  Case 05-94770                Doc 1    Filed 10/14/05 Entered 10/14/05 13:44:13           Desc Main
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                 Case No.
                                                                                                                       Debtor(s)

                                                                                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                            Continuation Sheet - Page 1 of 4
                                                                     SCHEDULE C - Property Claimed as Exempt

                                                                     Debtor elects the exemptions to which debtor is entitled under:

                                                                     11 U.S.C. 522(b)(2)

                                                                      The undersigned debtor(s) herein claim the following property as exempt pursuant to paragraphs 12-901 through 12-1001 of
                                                                     Chapter 110 of the Illinois Revised Statutes: (In the case of a Joint Petition filed by a husband and wife, all property listed
                                                                     herein is jointly owned unless otherwise indicated.)

                                                                       1. HOMESTEAD: Pursuant to Section 12-901 of the debtor(s) claim homestead in the amount of ($7200.00)($15,000.00 in
                                                                     the following property occupied as the detor(s) residence: (Also included herein is claimed exemptions for the sale proceeds
                                                                     pursuant to Section 12-906 and insurance proceeds pursuant to Section 12-907 in the event the homestead has been sold or
                                                                     destroyed.)

                                                                         NONE

                                                                                      Value of Residence                    0.00
                                                                                      Oustanding Mortgage                    0.00
                                                                                      Net Value                            0.00
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                                                                                      Minus -($7,500.)($15,000.)
                                                                                      Excess                              0.00

                                                                      2. NECESSARY PERSONAL PROPERTY: Pursuant to Section 12-1001(a) the necessary wearing apparel, bible, school
                                                                     books, and family pictures of the debtor(s) or the debtor(s) dependents:

                                                                                       Value: $100.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                 Case No.
                                                                                                                       Debtor(s)

                                                                                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                            Continuation Sheet - Page 2 of 4
                                                                     Schedule C page 2

                                                                         3. The debtor(s) interst not to exceed $2000.00 in the case of a single debtor and $4000.00 in the case of married debtor(s)
                                                                     filing a joint petition in the following other property:

                                                                                 Mkt          Lien    Amount Net Claimed
                                                                     Description Value         Holder  of Lien Value Exemption

                                                                     Real Estate
                                                                     (Description of the above real estate:)
                                                                     Kitchenware       20.00                  20.00 20.00
                                                                      Items
                                                                     Stove           50.00                   50.00 50.00
                                                                     Refrigerator      50.00                   50.00 50.00
                                                                     Freezer
                                                                     Washer           50.00                  50.00   50.00
                                                                     Dryer            50.00                  50.00   50.00
                                                                     Furniture
                                                                      Living Rm        20.00                 20.00    20.00
                                                                      Bedroom Rm        20.00                 20.00   20.00
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                                                                      Dining Rm.
                                                                      Lawn
                                                                     Television        20.00                  20.00   20.00
                                                                     Excess from auto exemption from paragraph 4 herein:

                                                                     Additional autos or trucks not listed in paragraph 4:

                                                                     Camper
                                                                     V.C.R.
                                                                     Boat
                                                                     Radio
                                                                     Riding Mower
                                                                     Burial Plot
                                                                     Security Deposit
                                                                     Computer
                                                                     Hobby Equip.
                                                                     Tools            100.00              100.00    100.00
                                                                     Animals
                                                                     Jewelry
                                                                     Cash              50.00               50.00     50.00
                                                                     Checking         100.00              100.00    100.00
                                                                     Claims of all kinds:
                                                                     Wage deduction
                                                                     Securities
                                                                     Other Property:
                                                                     Tax Refund
                                                                                    Total Net Value          $ 530.00
                                                                                    Total Exemptions Used        530.00
                                                                                    Minus Exemptions Claimed (2,000.)(4,000.)
                                                                                    Total Overage                 0.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                  Case 05-94770                Doc 1    Filed 10/14/05 Entered 10/14/05 13:44:13          Desc Main
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                                                                                                                       Debtor(s)

                                                                                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                            Continuation Sheet - Page 3 of 4
                                                                     Schedule C page 3

                                                                       4. AUTOMOBILES: The debtor(s) interest not to exceed $1200 per debtor per vehicle in the following motor vehicles:

                                                                             Mkt         Lien      Amount         Net  Exemption
                                                                            Value        Holder     of Lien      Value Claimed

                                                                       Description of Auto debtor claims: 1985 Ford
                                                                       400.00                           400.00   400.00
                                                                       Description of Auto co-debtor claims: 1990 Oldsmobile
                                                                       400.00                           400.00   400.00

                                                                                          Total Net Value            800.00
                                                                                           Exemptions Claimed          800.00
                                                                                         overage carried back to Page 2 0.00

                                                                       5. TOOLS, BOOKS: The debtor(s) interest not to exceed ($750)($1500) in any implements, professional books or tools of
                                                                     trade of the debtor(s).

                                                                       6. MISCELLANEOUS: The debtor(s)l claim(s) as exempt the following times of property, cuases of actions or other interests
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                                                                     which are listed in the Schedules of this Bankruptcy Proceedings as well as those following items of property, causes of
                                                                     action or other interests of value which may have been inadvertently omitted from the Schedules of these proceedings but
                                                                     which the debtor may have a legal right to have even though he or she or his or her attorney may have been unaware of the
                                                                     same at the time of the filing of this Petition in Bankruptcy or have inadvertently omitted to schedule the same because of
                                                                     clerical error:

                                                                         (a) Professionally prescribed health aids for the debtor or a dependent of the debtor;

                                                                         (b) Any interest in an automobile to the extent of uunused exemptions scheduled herein;

                                                                         (c) Any interest in real estate whether it be homestead or not to the extent of unused scheduled exemptions herein;

                                                                         (d) Any interest in other property not in excess of the unused exemptions claimed in paragraph 3 of this schedule;

                                                                        (e) The proceeds from the sale of a homestead in any fashion to the extent of unused homestead exemptions claimed
                                                                     herein;

                                                                         (f) All preferential transfers;

                                                                        (g) All proceeds payable because of the death of the insured and the aggregate net cash value of any or all like insurance
                                                                     and endowment policies and annuity contracts payable to a wife or husband of theinsured, or to a child parent, or other
                                                                     person dependent upon the insured whether the power to change the beneficiary is reserved to the insured or not and
                                                                     whether the insured or the insured's estate is a contingent beneficiary or not;

                                                                         (h) The debtor(s) right to receive:

                                                                             (1) a social security benefit, unemployment compensation, or public assistance;

                                                                             (2) a veteran's benefit;

                                                                             (3) a disability, illness or unemployment benefit;




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                   Case No.
                                                                                                                       Debtor(s)

                                                                                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                            Continuation Sheet - Page 4 of 4
                                                                     Schedule C page 4

                                                                            (4) alimony, support or separate maintenance, all of which is necessary for the support of the debtor or a dependent of
                                                                     the debtor(s), either due in the future or accumulated in the past;

                                                                             (5) The debtors' interest pursuant to Section 12-1006 of said Statute in a pension, annuity, retirement plan benefits or
                                                                     I.R.A. whether vested or not;

                                                                         (i) The debtor(s) right to receive, or property that is traceable to;

                                                                             (1) an award under a crime victim's reparation law;

                                                                           (2) a payment on account of the wrongful death of an individual of whom the debtor was a dependent, which is
                                                                     necessary and reasonable for the support of the debtor;

                                                                           (3) a payment under a life insurance contract that insured the life of an individual of whom the debtor(s) were
                                                                     dependent and is necessary and reasonable for the support of the debtor or a dependent of the debtor;

                                                                            (4) a payment, not to exceed $7500 in value, per debtor on account of personal bodily injury of the debtor(s) or an
                                                                     individual of whom the debtor was a dependent;
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                                                                         (j) The debtor(s)' right to receive money from the sale of any personal property which was exempt at the time of its sale to
                                                                     the same extent that it would be exempted hereunder;

                                                                        (k) The debtor(s)l right to receive any proceeds from a claim or lawsuit to the extent that it could be exempted in this
                                                                     schedule;

                                                                              (1) The debtor(s)l right to receive any property as the result of filing a Petition for the Dissolution of marriage under the
                                                                     Illinois Dissolution of Marriage Act. (THE DEBTOR IS ADVISED NOT TO FILE A PETITION FOR THE DISSOLUTION OF
                                                                     MARRIAGE BEFORE THIS PETITION IS FILED.);

                                                                         (m) Any claim handled by an attorney listed in any of the schedules of this proceedings to the extent exempt herein;

                                                                         (n) Any state or federal income tax refunds;

                                                                       (o) A worker's compensation payment, claim, award or decision under Section 305/21 of Chapter 820 of the Illinois
                                                                     Compiled Statutes;

                                                                         (p) Any property not otherwise exempt but which is con- verted to cash and has become part of this bankruptcy estate
                                                                     to the extent of the unused portion of the unused exemption contained within Section 12-1001(a).

                                                                      THE DEBTOR(S) CERTIFY THAT THEY HAVE READ THE ABOVE SCHEDULE F. DO NOT SIGN THIS SCHEDULE UNTIL YOU
                                                                     HAVE READ IT CAREFULLY.




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                    Case 05-94770                  Doc 1         Filed 10/14/05 Entered 10/14/05 13:44:13                                        Desc Main
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                              Case No.
                                                                                                                                Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                     üCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                 U
                                                                                                                                                                                                             C   N          AMOUNT OF CLAIM
                                                                                                                                    C                                                                        O   L    D    WITHOUT DEDUCTING
                                                                                                                                    O                                                                        N   I    I   VALUE OF COLLATERAL
                                                                                                                                    D   H                                                                    T   Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                    E   W                                                                    I   U    P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                           NATURE OF LIEN, AND DESCRIPTION AND MARKET VALUE OF
                                                                                                                                    B   J                                                                    N   I    U
                                                                                         (See instructions above.)                                           PROPERTY SUBJECT TO LIEN
                                                                                                                                    T   C                                                                    G   D    T
                                                                                                                                    O                                                                        E   A    E   UNSECURED PORTION, IF
                                                                                                                                    R                                                                        N   T    D          ANY
                                                                                                                                                                                                             T   E
                                                                                                                                                                                                                 D
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                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                                                                                                                                                              Subtotal
                                                                               0 Continuation Sheets attached                                                                                     (Total of this page)

                                                                                                                                                         (Complete only on last sheet of Schedule D) TOTAL
                                                                                                                                                                                                     (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                     Case 05-94770                  Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                                         Desc Main
                                                                                                                                     Document Page 18 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                                 Case No.
                                                                                                                                 Debtor(s)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete account number
                                                                     of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entiry on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS
                                                                     (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the
                                                                          earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2)

                                                                          Wages, salaries, and commissions
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                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
                                                                          qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the
                                                                          original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
                                                                          or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in 11
                                                                          U.S.C. § 507(a)(5).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
                                                                          family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6)

                                                                          Alimony, Maintenance, or Support
                                                                          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C.
                                                                          § 507(a)(7).

                                                                     ü Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board
                                                                          of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository
                                                                          institution. 11 U.S.C. § 507(a)(9).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                               1 Continuation Sheets attached




                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1       Filed 10/14/05 Entered 10/14/05 13:44:13                              Desc Main
                                                                                                                           Document Page 19 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                 Case No.
                                                                                                                       Debtor(s)

                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                (Continuation Sheet)


                                                                                                        Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                        (Type of Priority)

                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                           C                                                               O   L    D      TOTAL AMOUNT
                                                                                                                           O                                                               N   I    I        OF CLAIM
                                                                                                                           D    H                                                          T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                           E    W                  DATE CLAIM WAS INCURRED                 I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER
                                                                                                                           B    J                AND CONSIDERATION FOR CLAIM               N   I    U
                                                                                           (See instructions.)
                                                                                                                           T    C                                                          G   D    T
                                                                                                                           O                                                               E   A    E     AMOUNT ENTITLED
                                                                                                                           R                                                               N   T    D       TO PRIORITY
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                J 1999-2000
                                                                     Internal Revenue Service                                     back taxes
                                                                     3101 Constitution Dr.                                                                                                                           400.00
                                                                     Springfield, IL 62704-6728

                                                                                                                                                                                                                     400.00
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                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                              Subtotal
                                                                     Sheet         1 of          1 Continuation Sheets attached to Schedule E                                     (Total of this page)               400.00

                                                                                                                                              (Complete only on last sheet of Schedule E) TOTAL                      400.00
                                                                                                                                                                                    (Report total also on Summary of Schedules)



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     Case 05-94770                   Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                                         Desc Main
                                                                                                                                      Document Page 20 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                                  Case No.
                                                                                                                                  Debtor(s)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
                                                                     sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                      U
                                                                                                                                                                                                                 C    N
                                                                                                                                      C                                                                          O    L    D
                                                                                                                                      O                                                                          N    I    I
                                                                                                                                      D    H                                                                     T    Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                      E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.             I    U    P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                              AMOUNT OF CLAIM
                                                                                                                                      B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                 N    I    U
                                                                                         (See instructions above.)
                                                                                                                                      T    C                                                                     G    D    T
                                                                                                                                      O                                                                          E    A    E
                                                                                                                                      R                                                                          N    T    D
                                                                                                                                                                                                                 T    E
                                                                                                                                                                                                                      D
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                                                                     Account No.                                                          W 2005
                                                                     ABC Sanitary                                                           garbage service
                                                                     401 W. Eureka
                                                                     Champaign, IL 61820

                                                                                                                                                                                                                                                90.00
                                                                     Account No. 85666917 371535960781009                                  J 2005
                                                                     American Express                                                        credit card purchases
                                                                     10040 N. 25th Ave. Suite 200
                                                                     Phoenix, AZ 85021

                                                                                                                                                                                                                                          unknown
                                                                     Account No. 238                                                       J 2002-2004
                                                                     Blair Corp/Crossing Point Div                                           credit card purchases
                                                                     220 Hickory St.
                                                                     Warren, PA 16366-0001

                                                                                                                                                                                                                                               400.00
                                                                     Account No.                                                           J 2003-2005
                                                                     Carle Foundation Hospital                                               medical services
                                                                     611 W. Park St.
                                                                     Urbana, IL 61801

                                                                                                                                                                                                                                            5,000.00
                                                                     Account No.                                                               Assignee or other notification for:
                                                                     Carle Clinic Association                                                  Carle Foundation Hospital
                                                                     P.O. Box 6002
                                                                     Urbana, IL 61802



                                                                                                                                                                                                                  Subtotal
                                                                               6 Continuation Sheets attached                                                                                         (Total of this page)                  5,490.00

                                                                                                                                                            (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                                         (Report total also on Summary of Schedules)




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 21 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
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                                                                     Account No. 750                                           J 2000
                                                                     Central IL Emergency Phys
                                                                     P.O. Box 140190
                                                                     Toledo, OH 43614

                                                                                                                                                                                                                      360.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     UCB Collections                                               Central IL Emergency Phys
                                                                     5620 Southwyck Blvd
                                                                     Toledo, OH 43614-1501
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                                                                     Account No. G23085                                        J 2000-2005
                                                                     Central Illinois IPL                                        medical services
                                                                     C/O Russell Collection Agency
                                                                     P.O. Box 7009
                                                                     Flint, MI 48507-3278
                                                                                                                                                                                                                      500.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Russell Collection Agency                                     Central Illinois IPL
                                                                     P.O. Box 7009
                                                                     G3285 Van Slyke Rd.
                                                                     Flint, MI 48507-3278

                                                                     Account No. 7545627                                       J 2003-2005
                                                                     Christie Clinic Association
                                                                     101 W. University
                                                                     Champaign, IL 61820

                                                                                                                                                                                                                   7,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     CB Accounts                                                   Christie Clinic Association
                                                                     P.O. Box 247
                                                                     Jacksonville, IL 62651



                                                                     Account No.                                               J 2005
                                                                     Creative Smiles Dental Care                                 dental services
                                                                     1905 Convenience Place
                                                                     Champaign, IL 62401

                                                                                                                                                                                                                   2,500.00
                                                                                                                                                                                             Subtotal
                                                                     Sheet         1 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)             10,360.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 22 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
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                                                                     Account No. 010740328 104148 104159                      W 1980-2003
                                                                     Decatur Memorial Hospital                                  medical services
                                                                     2300 N. Edward
                                                                     Decatur, IL 62525

                                                                                                                                                                                                                  16,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Midwest Credit & Collections                                  Decatur Memorial Hospital
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525
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                                                                     Account No.                                               J 2004-2005
                                                                     Family Video                                                rental services
                                                                     805 N. Lincoln
                                                                     Urbana, IL 61801

                                                                                                                                                                                                                       50.00
                                                                     Account No. 24112                                        W 2002-2004
                                                                     Figis Inc.                                                 credit card purchases
                                                                     3200 S. Maple Ave.
                                                                     Marshfield, WI 54449-8612

                                                                                                                                                                                                                      100.00
                                                                     Account No.                                               J
                                                                     Illinois Guaranteed Loan                                      student loan
                                                                     P.O. Box 235
                                                                     Deerfield, IL 60015

                                                                                                                                                                                                                   5,000.00
                                                                     Account No. 901217 939554                                 J 2000-2002
                                                                     Illinois Power
                                                                     373 S. Main
                                                                     Decatur, IL 62523

                                                                                                                                                                                                                   2,270.00
                                                                     Account No.                                               J 1999-2002
                                                                     Illinois Title Loan                                         repossessed car
                                                                     1198 N. Main
                                                                     Decatur, IL 62521

                                                                                                                                                                                                                      500.00
                                                                                                                                                                                             Subtotal
                                                                     Sheet         2 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)             23,920.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 23 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
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                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
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                                                                     Account No. 1677                                         H 1999
                                                                     Insight Communications                                     cable service
                                                                     303 E. Fairlawn Dr.
                                                                     Urbana, IL 61801

                                                                                                                                                                                                                      150.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Credit Management                                             Insight Communications
                                                                     17070 Dallas Parkway
                                                                     Dallas, TX 75248-1950
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                                                                     Account No. 1014726                                       J 2/23/01
                                                                     KMB Service Corp                                            medical services
                                                                     C/O Pro Com Services
                                                                     P.O. Box 202
                                                                     Springfield,, IL 62705
                                                                                                                                                                                                                       80.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     ProCom Services                                               KMB Service Corp
                                                                     825 Carpenter St.
                                                                     P.O. Box 202
                                                                     Springfield, IL 62705

                                                                     Account No. 010740328                                     J 2000
                                                                     Mary Alice Johns                                            rental lease
                                                                     C/O Midwest Credit & Collections
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525-0445
                                                                                                                                                                                                                   2,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Midwest Credit & Collections                                  Mary Alice Johns
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525



                                                                     Account No. 878323374                                    W 2003
                                                                     Midnight
                                                                     1112 7th Ave.
                                                                     Monroe, WI 53566-1364

                                                                                                                                                                                                                      500.00
                                                                                                                                                                                             Subtotal
                                                                     Sheet         3 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)              2,730.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 24 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
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                                                                                                                          D    H                                                           T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
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                                                                     Account No. 102186                                       W 2000-2004
                                                                     Midwest OB GYN                                             medical services
                                                                     C/O Midwest Credit & Collection
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525-0445
                                                                                                                                                                                                                      500.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Midwest Credit & Collections                                  Midwest OB GYN
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525
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                                                                     Account No. 99189889167 99190165230                      H 2003-2005
                                                                     NEBS
                                                                     500 Main St.                                                  99190616070
                                                                     Groton, MA 01471

                                                                                                                                                                                                                      400.00
                                                                     Account No. 353522332                                    W 2005
                                                                     Parkland College                                           dropped classes
                                                                     2400 W. Bradley
                                                                     Champaign, IL 61821-1899

                                                                                                                                                                                                                   2,700.00
                                                                     Account No. HC1575822                                     J 2005
                                                                     Provena Covenant Medical Center                             medical services
                                                                     75 Remittance Dr.
                                                                     Chicago, IL 60675-6195

                                                                                                                                                                                                                      350.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Provena Covenant Medical Center                               Provena Covenant Medical Center
                                                                     1400 W. Park St.
                                                                     Urbana, IL 61801



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Revenue Cycle Partners                                        Provena Covenant Medical Center
                                                                     2781 Stoner Dr.
                                                                     Suite 300
                                                                     North Liberty, IA 52317

                                                                                                                                                                                             Subtotal
                                                                     Sheet         4 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)              3,950.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 25 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
                                                                                                                                                                                               U
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                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                               J 2002-2005
                                                                     Provena Covenant Medical Center                             medical services
                                                                     1400 W. Park St.
                                                                     Urbana, IL 61801

                                                                                                                                                                                                                   6,000.00
                                                                     Account No.                                              W 2002
                                                                     Security Financial Service                                 loan
                                                                     204 E. Main St.
                                                                     Spartanburg, SC 29306-5127
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                                                                                                                                                                                                                      300.00
                                                                     Account No. 878323374                                     J 2002-2004
                                                                     Seventh Avenue                                              credit card purchases
                                                                     1112 7th Ave.
                                                                     Monroe, WI 53666

                                                                                                                                                                                                                      400.00
                                                                     Account No.                                              W 5/05
                                                                     Silkies                                                    contract to buy hose
                                                                     P.O. Box 70101
                                                                     Philadelphia, PA 19176-0101

                                                                                                                                                                                                                       20.00
                                                                     Account No.                                              W 2004
                                                                     Snell Chiropractic                                         medical services
                                                                     1802 Woodfield Dr.
                                                                     Savoy, IL 61874

                                                                                                                                                                                                                      150.00
                                                                     Account No. 201646 1683096 010740328                     H 1990-2003
                                                                     St. Mary's Hospital                                        medical services
                                                                     1800 Lakeshore Dr.                                         101058 100304
                                                                     Decatur, IL 62521

                                                                                                                                                                                                                  10,500.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Accent Health Care                                            St. Mary's Hospital
                                                                     P.O. Box 33009
                                                                     Phoenix, AZ 55067



                                                                                                                                                                                             Subtotal
                                                                     Sheet         5 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)             17,370.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 05-94770             Doc 1      Filed 10/14/05 Entered 10/14/05 13:44:13                               Desc Main
                                                                                                                          Document Page 26 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Midwest Credit & Collections                                  St. Mary's Hospital
                                                                     P.O. Box 445
                                                                     Decatur, IL 62525



                                                                     Account No.                                               J 2001-2004
                                                                     Sun Loan Company                                            loan
                                                                     1335 E. Pershing Rd.
                                                                     Decatur, IL 62526-4730
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                                                                                                                                                                                                                      250.00
                                                                     Account No.                                              W 2003
                                                                     US Cellular/Amica                                          cellular services
                                                                     P.O. Box 7835
                                                                     Madison, WI 53707-7835

                                                                                                                                                                                                                      200.00
                                                                     Account No.                                              W 1996-1998
                                                                     Venture Stores
                                                                     871 Mid Point Dr.
                                                                     O'Fallon, MD 63366

                                                                                                                                                                                                                      300.00
                                                                     Account No.                                               J 1994-1998
                                                                     Wilderhaven East                                            lot rent
                                                                     3925 Tifany Terrace
                                                                     Decatur, IL 62526

                                                                                                                                                                                                                   5,000.00
                                                                     Account No. 11886                                         J 2004-2005
                                                                     Womens Health Practice                                      medical services
                                                                     2125 S. Neil
                                                                     Champaign, IL 61820

                                                                                                                                                                                                                   5,000.00
                                                                     Account No.




                                                                                                                                                                                             Subtotal
                                                                     Sheet         6 of          6 Continuation Sheets attached to Schedule F                                    (Total of this page)             10,750.00

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL                   74,570.00
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     Case 05-94770                  Doc 1         Filed 10/14/05 Entered 10/14/05 13:44:13                                        Desc Main
                                                                                                                                    Document Page 27 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                                Case No.
                                                                                                                                 Debtor(s)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                     State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease.
                                                                     Provide the names and complete addresses of all other parties to each lease or contract described.
                                                                     NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors.

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                        STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                          STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                    Case 05-94770                  Doc 1         Filed 10/14/05 Entered 10/14/05 13:44:13                                       Desc Main
                                                                                                                                   Document Page 28 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                             Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name and address of the nondebtor
                                                                     spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case.

                                                                     üCheck this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                    Case 05-94770                  Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                                      Desc Main
                                                                                                                                    Document Page 29 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                              Case No.
                                                                                                                                Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
                                                                     unless the spouses are separated and a joint petition is not filed.

                                                                      Debtor's Marital Status                                                             DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                      RELATIONSHIP                                                                                           AGE
                                                                                                                   Wife                                                                                                   45




                                                                      EMPLOYMENT:                                             DEBTOR                                                                     SPOUSE
                                                                      Occupation                Laborer
                                                                      Name of Employer          Flex-N-Gate                                                              NONE
                                                                      How long employed         2 Years
                                                                      Address of Employer       604 Guardian Way
                                                                                                Urbana, IL

                                                                     Income: (Estimate of average monthly income)                                                                                           DEBTOR                     SPOUSE
                                                                     Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly)                                       $             1,733.33 $
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                                                                     Estimated monthly overtime                                                                                                $                          $
                                                                     SUBTOTAL                                                                                                                  $             1,733.33 $                      0.00
                                                                      LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                    $               260.00 $
                                                                       b. Insurance                                                                                                            $               303.33 $
                                                                       c. Union dues                                                                                                           $                          $
                                                                       d. Other (specify)                                                                                                      $                          $
                                                                                                                                                                                               $                          $
                                                                     SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                            $               563.33 $                      0.00
                                                                     TOTAL NET MONTHLY TAKE HOME PAY                                                                                           $             1,170.00 $                      0.00

                                                                     Regular income from operation of business or profession or farm (attach detailed statement)                               $               200.00 $
                                                                     Income from real property                                                                                                 $                          $
                                                                     Interest and dividends                                                                                                    $                          $
                                                                     Alimony, maintenance or support payments payable to the debtor for the debtor’s use
                                                                     or that of dependents listed above                                                                                        $                          $
                                                                     Social Security or other government assistance
                                                                     (Specify)                                                                                                                 $                          $
                                                                                                                                                                                               $                          $
                                                                     Pension or retirement income                                                                                              $                          $
                                                                     Other monthly income
                                                                     (Specify)                                                                                                                 $                          $
                                                                                                                                                                                               $                          $
                                                                                                                                                                                               $                          $

                                                                     TOTAL MONTHLY INCOME                                                                                                      $             1,370.00 $                      0.00

                                                                     TOTAL COMBINED MONTHLY INCOME $                                                1,370.00 (Report also on Summary of Schedules)

                                                                     Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 05-94770                 Doc 1        Filed 10/14/05 Entered 10/14/05 13:44:13                                     Desc Main
                                                                                                                                 Document Page 30 of 34
                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                          Case No.
                                                                                                                              Debtor(s)

                                                                                              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     Rent or home mortgage payment (include lot rented for mobile home)                                                                             $               250.00
                                                                     Are real estate taxes included? Yes      No ü
                                                                     Is property insurance included? Yes      No ü
                                                                     Utilities: Electricity and heating fuel                                                                                                        $               150.00
                                                                                Water and sewer                                                                                                                     $                60.00
                                                                                Telephone                                                                                                                           $               150.00
                                                                                Other                                                                                                                               $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Home maintenance (repairs and upkeep)                                                                                                          $               100.00
                                                                     Food                                                                                                                                           $               400.00
                                                                     Clothing                                                                                                                                       $               100.00
                                                                     Laundry and dry cleaning                                                                                                                       $                50.00
                                                                     Medical and dental expenses                                                                                                                    $               150.00
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                                                                     Transportation (not including car payments)                                                                                                    $               200.00
                                                                     Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                               $                50.00
                                                                     Charitable contributions                                                                                                                       $
                                                                     Insurance (not deducted from wages or included in home mortgage payments)
                                                                       Homeowner’s or renter’s                                                                                                                      $
                                                                       Life                                                                                                                                         $
                                                                       Health                                                                                                                                       $
                                                                       Auto                                                                                                                                         $               100.00
                                                                       Other                                                                                                                                        $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Taxes (not deducted from wages or included in home mortgage payments)
                                                                     (Specify)                                                                                                                                      $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Installment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                       Auto                                                                                                                                         $
                                                                       Other                                                                                                                                        $
                                                                                                                                                                                                                    $
                                                                     Alimony, maintenance, and support paid to others                                                                                               $
                                                                     Payments for support of additional dependents not living at your home                                                                          $
                                                                     Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $               300.00
                                                                     Other                                                                                                                                          $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $

                                                                     TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                   $             2,060.00

                                                                     (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                     Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
                                                                     other regular interval.
                                                                       A. Total projected monthly income                                                                             $
                                                                       B. Total projected monthly expenses                                                                           $
                                                                       C. Excess income (A minus B)                                                                                  $
                                                                       D. Total amount to be paid into plan each                                                                     $
                                                                                                                                             (interval)
                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                         Case 05-94770                        Doc 1             Filed 10/14/05 Entered 10/14/05 13:44:13                   Desc Main
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                                                                     IN RE Fickes, James Reed & Fickes, Teri L                                                                    Case No.
                                                                                                                                               Debtor(s)

                                                                                                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                              23 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: October 12, 2005                                           Signature: /s/ James Reed Fickes
                                                                                                                                                                                                                                                 Debtor
                                                                                                                                                      James Reed Fickes

                                                                     Date: October 12, 2005                                           Signature: /s/ Teri L Fickes
                                                                                                                                                                                                                                   (Joint Debtor, if any)
                                                                                                                                                      Teri L Fickes

                                                                                                                                                                                        [If joint case, both spouses must sign.]


                                                                         CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that
                                                                     I have provided the debtor with a copy of this document.
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                                                                     Printed or Typed Name of Bankruptcy Petition Preparer                                                       Social Security No.
                                                                                                                                                                                 (Required by 11 U.S.C. § 110(c).)




                                                                     Address


                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:
                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
                                                                     person.



                                                                     Signature of Bankruptcy Petition Preparer                                                                   Date


                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result
                                                                     in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                        (Total shown on summary page plus 1)




                                                                     Date:                                                            Signature:


                                                                                                                                                                                           (Print or type name of individual signing on behalf of debtor)


                                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


                                                                        Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                   Case 05-94770             Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                       Desc Main
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                                                                                                                            United States Bankruptcy Court
                                                                                                                               Central District of Illinois

                                                                     IN RE:                                                                                                 Case No.
                                                                     Fickes, James Reed & Fickes, Teri L                                                                    Chapter 7
                                                                                                                    Debtor(s)

                                                                                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
                                                                     2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

                                                                     a. Property to be Surrendered
                                                                     DESCRIPTION OF PROPERTY                                                      CREDITOR’S NAME

                                                                     None


                                                                                                                                                                                                      PROPERTY       DEBT WILL
                                                                     b. Property to be Retained [Check any applicable statement.]                                                                      WILL BE         BE RE-
                                                                                                                                                                                                      REDEEMED       AFFIRMED
                                                                                                                                                                                          PROPERTY    PURSUANT       PURSUANT
                                                                                                                                                                                         IS CLAIMED   TO 11 U.S.C.   TO 11 U.S.C.
                                                                     DESCRIPTION OF PROPERTY                                    CREDITOR’S NAME                                          AS EXEMPT       § 722        § 524(C)

                                                                     None
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                                                                        10/12/2005        /s/ James Reed Fickes                                             /s/ Teri L Fickes
                                                                            Date          James Reed Fickes                                          Debtor Teri L Fickes                        Joint Debtor (if applicable)


                                                                        CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that
                                                                     I have provided the debtor with a copy of this document.


                                                                     Printed or Typed Name of Bankruptcy Petition Preparer                                                  Social Security No.
                                                                                                                                                                            (Required by 11 U.S.C. § 110(c).)

                                                                     Address

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:
                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
                                                                     person.



                                                                     Signature of Bankruptcy Petition Preparer                                                              Date

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result
                                                                     in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                           Case 05-94770                               Doc 1                Filed 10/14/05 Entered 10/14/05 13:44:13                                                                          Desc Main
                                                                                                                                                              Document Page 33 of 34
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                Central District of Illinois

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Fickes, James Reed & Fickes, Teri L                                                                                                                                        Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               326.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   326.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $     0.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                  October 12, 2005                                                  /s/ Kenneth E. Baughman
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Kenneth E. Baughman
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                                    Case 05-94770                 Doc 1          Filed 10/14/05 Entered 10/14/05 13:44:13                                       Desc Main
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                                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR

                                                                                       The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
                                                                                       bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an attorney
                                                                                       to learn of your rights and responsibilities under the law should you decide to file a petition with the court. Neither the judge nor the
                                                                                       court's employees may provide you with legal advice.


                                                                     Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)*
                                                                        1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                        2. Under Chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
                                                                     governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of
                                                                     the Bankruptcy Code.
                                                                        3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court,
                                                                     and the purpose for which you filed the bankruptcy petition will be defeated.
                                                                        4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
                                                                     responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts
                                                                     for death or personal injury caused by driving while intoxicated from alcohol or drugs.
                                                                        5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your
                                                                     attorney can explain the options that are available to you.
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                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee plus $39
                                                                     administrative fee)*
                                                                        1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like
                                                                     to pay them in installments over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain
                                                                     dollar amounts set forth in the Bankruptcy Code.
                                                                        2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
                                                                     using your future earnings. Usually the period allowed by the court to repay your debts is three years, but not more than five
                                                                     years. Your plan must be approved by the court before it can take effect.
                                                                        3. Under Chapter 13, unlike Chapter 7, you may keep all your property, both exempt and non-exempt, as long as you
                                                                     continue to make payments under the plan.
                                                                        4. After completion of payments under your plan, your debts are discharged except alimony and support payments, student
                                                                     loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while
                                                                     intoxicated from alcohol or drugs, and long term secured obligations.
                                                                     Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)*
                                                                        Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions
                                                                     are quite complicated, and any decision for an individual to file a Chapter 11 petition should be reviewed with an attorney.
                                                                     Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)*
                                                                        Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in
                                                                     many ways similar to a Chapter 13. The eligibility requirements are restrictive, limiting its use to those who income arises
                                                                     primarily from a family owned farm.
                                                                     * Fees are subject to change and should be confirmed before filing.


                                                                                                                                       ACKNOWLEDGEMENT

                                                                     I, the debtor, affirm that I have read this notice.
                                                                                                                                                                                                                      Case Number




                                                                     October 12, 2005                   /s/ James Reed Fickes                                                   /s/ Teri L Fickes
                                                                     Date                               James Reed Fickes                                              Debtor   Teri L Fickes                                       Joint Debtor, if any


                                                                     INSTRUCTIONS: If the debtor is an individual, a copy of this notice personally signed by the debtor must accompany any bankruptcy petition filed with the Clerk. If filed
                                                                     by joint debtors, the notice must be personally signed by each. Failure to comply may result in the petition not being accepted for filing.


                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR
